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   UNITED STATES DISTRICT COURT
   NORTHERN DISTRICT OF NEW YORK

   UNITED STATES OF AMERICA,

                                 Plaintiff,
                  vs.
                                                                      Case No. 5:20-cr-298 (DNH)
   JOHN ZOURDOS, HELEN ZOURDOS, and
   DIMITRIOS ZOURDOS,

                                 Defendants.



                   EVIDENCE LIST OF DEFENDANTS JOHN ZOURDOS,
                     HELEN ZOURDOS AND DIMITRIOS ZOURDOS


          Defendants John Zourdos, Helen Zourdos, and Dimitrios Zourdos intend to use the

  following evidence in connection with the trial scheduled for November 1, 2021. Defendants

  reserve the right to amend their witness list include additional exhibits and summaries.


                            Admitted
Exhibit    Marked for
                              into        Admissibility    Authenticity         Exhibit Description
 No.      Identification
                            Evidence
 D-1                                                                        2013 HZ Dippin Donuts, Inc.
                                                                                   Tax Returns
 D-2                                                                        2014 HZ Dippin Donuts, Inc.
                                                                                   Tax Returns
 D-3                                                                        2015 HZ Dippin Donuts, Inc.
                                                                                   Tax Returns
 D-4                                                                        2016 HZ Dippin Donuts, Inc.
                                                                                   Tax Returns
 D-5                                                                        2017 HZ Dippin Donuts, Inc.
                                                                                   Tax Returns
 D-6                                                                         2013 RDZ Dippin Donuts,
                                                                                 Inc. Tax Returns
 D-7                                                                         2014 RDZ Dippin Donuts,
                                                                                 Inc. Tax Returns
 D-8                                                                         2015 RDZ Dippin Donuts,
                                                                                 Inc. Tax Returns
           Case 5:20-cr-00298-DNH Document 53 Filed 10/22/21 Page 2 of 6




                           Admitted
Exhibit    Marked for
                             into     Admissibility   Authenticity       Exhibit Description
 No.      Identification
                           Evidence
 D-9                                                                   2016 RDZ Dippin Donuts,
                                                                            Inc. Tax Returns
 D-10                                                                  2017 RDZ Dippin Donuts,
                                                                            Inc. Tax Returns
 D-11                                                                2013 Dimitrious Zourdos Tax
                                                                                 Return
 D-12                                                                2014 Dimitrious Zourdos Tax
                                                                                 Return
 D-13                                                                2015 Dimitrious Zourdos Tax
                                                                                 Return
 D-14                                                                2016 Dimitrious Zourdos Tax
                                                                                 Return
 D-15                                                                2017 Dimitrious Zourdos Tax
                                                                                 Return
 D-16                                                                2013 John and Helen Zourdos
                                                                              Tax Returns
 D-17                                                                2014 John and Helen Zourdos
                                                                              Tax Returns
 D-18                                                                2015 John and Helen Zourdos
                                                                              Tax Returns
 D-19                                                                2016 John and Helen Zourdos
                                                                              Tax Returns
 D-20                                                                2017 John and Helen Zourdos
                                                                              Tax Returns
 D-21                                                                HZ Dippin Donuts, Inc. Bank
                                                                      Statements Account #1341
 D-22                                                                  RDZ Dippin Donuts, Inc.
                                                                       Bank Statements Account
                                                                                  #7122
 D-23                                                                   ERD Empire, Inc. Bank
                                                                      Statements Account #4229
 D-24                                                                John and Helen Zourdos NBT
                                                                         Checking Acct. #4869
 D-25                                                                   John Zourdos Berkshire
                                                                        Savings Account #3127
 D-26                                                                   John Zourdos Berkshire
                                                                       Checking Account #9466
 D-27                                                                    John Zourdos Business
                                                                       Checking Account #1634
 D-28                                                                   Helen Zourdos Berkshire
                                                                        Savings Account #1468
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                           Admitted
Exhibit    Marked for
                             into     Admissibility   Authenticity       Exhibit Description
 No.      Identification
                           Evidence
 D-29                                                                  Helen Zourdos Berkshire
                                                                       Checking Account #3213
 D-30                                                                  Helen Zourdos Berkshire
                                                                        Savings Account #6954
 D-31                                                                    Helen Zourdos Money
                                                                        Market Account #0074
 D-32                                                                Helen Zourdos First Niagara
                                                                       Checking Account #4975
 D-33                                                                    Dimitrious and Helen
                                                                        Berkshire Savings Acct
                                                                                #4103
 D-34                                                                    Dimitrious and Helen
                                                                        Berkshire Savings Acct
                                                                                #3373
 D-35                                                                Dimitrious and John Zourdos
                                                                     NBT Bank Checking Account
 D-36                                                                Dimitrious Zourdos Berkshire
                                                                       Checking Account #3650
 D-37                                                                  Rose and Helen Zourdos
                                                                      Berkshire Savings Account
                                                                                #0124
 D-38                                                                   Rose Zourdos Berkshire
                                                                       Checking Account #3559
 D-39                                                                   Rose Zourdos Berkshire
                                                                       Checking Account #8202
 D-40                                                                   Rose Zourdos Berkshire
                                                                       Checking Account #8883
 D-41                                                                   Rose Zourdos Berkshire
                                                                        Savings Account #4124
 D-42                                                                   Rose Zourdos Berkshire
                                                                        Savings Account #7500
 D-43                                                                Rose Zourdos NBT Checking
                                                                            Account #5756
 D-44                                                                Helen Zourdos and Chrisanthi
                                                                     Tsionas Certificate of Deposit
                                                                                #1680
 D-45                                                                Helen Zourdos and Chrisanthi
                                                                     Tsionas Certificate of Deposit
                                                                                #3600
 D-46                                                                Helen Zourdos and Chrisanthi
                                                                     Tsionas Certificate of Deposit
                                                                                #3810
           Case 5:20-cr-00298-DNH Document 53 Filed 10/22/21 Page 4 of 6




                           Admitted
Exhibit    Marked for
                             into     Admissibility   Authenticity       Exhibit Description
 No.      Identification
                           Evidence
 D-47                                                                Helen Zourdos and Chrisanthi
                                                                     Tsionas Certificate of Deposit
                                                                                 #7511
 D-48                                                                Chrisanthi Tsionas Berkshire
                                                                        Savings Account #6376
 D-49                                                                Bank Statements provided in
                                                                            Gilroy Materials
 D-50                                                                  Internal Revenue Service
                                                                                 Report
 D-51                                                                    2012 Calendar Book
                                                                           ERD Empire, Inc.
 D-52                                                                    2012 Calendar Book
                                                                        HZ Dippin Donuts, Inc.
 D-53                                                                    2012 Calendar Book
                                                                       RDZ Dippin Donuts, Inc.
 D-54                                                                    2013 Calendar Book
                                                                           ERD Empire, Inc.
 D-55                                                                    2013 Calendar Book
                                                                        HZ Dippin Donuts, Inc.
 D-56                                                                    2013 Calendar Book
                                                                       RDZ Dippin Donuts, Inc.
 D-57                                                                    2014 Calendar Book
                                                                           ERD Empire, Inc.
 D-58                                                                    2014 Calendar Book
                                                                        HZ Dippin Donuts, Inc.
 D-59                                                                    2014 Calendar Book
                                                                       RDZ Dippin Donuts, Inc.
 D-60                                                                    2015 Calendar Book
                                                                           ERD Empire, Inc.
 D-61                                                                    2015 Calendar Book
                                                                        HZ Dippin Donuts, Inc.
 D-62                                                                    2015 Calendar Book
                                                                       RDZ Dippin Donuts, Inc.
 D-63                                                                    2016 Calendar Book
                                                                           ERD Empire, Inc.
 D-64                                                                    2016 Calendar Book
                                                                        HZ Dippin Donuts, Inc.
 D-65                                                                    2016 Calendar Book
                                                                       RDZ Dippin Donuts, Inc.
 D-66                                                                    2017 Calendar Book
                                                                           ERD Empire, Inc.
           Case 5:20-cr-00298-DNH Document 53 Filed 10/22/21 Page 5 of 6




                           Admitted
Exhibit    Marked for
                             into     Admissibility   Authenticity       Exhibit Description
 No.      Identification
                           Evidence
 D-67                                                                     2017 Calendar Book
                                                                        HZ Dippin Donuts, Inc.
 D-68                                                                     2017 Calendar Book
                                                                       RDZ Dippin Donuts, Inc.
 D-69                                                                 Composite E-mails between
                                                                     Heather O’Rourke and Helen
                                                                                Zourdos
 D-70                                                                 Composite E-mails between
                                                                        Heather O’Rourke and
                                                                            Berkshire Bank
 D-71                                                                    Financial Statements
                                                                      Prepared by Vincent Gilroy,
                                                                                Jr,. CPA
 D-72                                                                Summary Exhibit: Cancelled
                                                                                 Checks
 D-73                                                                      Summary Exhibit:
                                                                         QuickBooks Report of
                                                                     Independent Contractors and
                                                                                Vendors
 D-74                                                                Summary Exhibit: Form 1120
                                                                            (with schedules)
 D-75                                                                Summary Exhibit: Corporate
                                                                     Bank Accounts Deposits and
                                                                              Withdrawals
 D-76                                                                 Summary Exhibits: Personal
                                                                     Bank Accounts Deposits and
                                                                              Withdrawals
 D-77                                                                Treasury Department Circular
                                                                      230: Regulations Governing
                                                                        Practice before the IRS
 D-78                                                                  New York State Education
                                                                       Department: Office of the
                                                                     Professions, Laws, Rules, and
                                                                              Regulations
                                                                       Education Law Title VIII,
                                                                           Article 149 Public
                                                                             Accountancy
                                                                         Rules of the Board of
                                                                            Regents: Part 29
                                                                        Unprofessional Conduct
                                                                     Commissioner’s Regulations:
                                                                      Part 70 Public Accountancy
           Case 5:20-cr-00298-DNH Document 53 Filed 10/22/21 Page 6 of 6




                            Admitted
Exhibit    Marked for
                              into     Admissibility   Authenticity       Exhibit Description
 No.      Identification
                            Evidence
 D-79                                                                 John and Dimitrious Zourdos
                                                                         Americu Bank Account
                                                                            Statements #6148
 D-80                                                                   Internal Revenue Manual
                                                                         4.10.4-Examination of
                                                                                 Income
 D-81                                                                 Summary Exhibit: Form 1040
                                                                             (with schedules)
                                                                       All documents identified on
                                                                      Exhibit List submitted by the
                                                                              United States

  Dated: October 22, 2021

   DAVID M. GARVIN, P.A.                        BARCLAY DAMON LLP



   By:    /s David M. Garvin                    By:    /s Gabriel M. Nugent
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          Admitted Pro Hac Vice
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   John Zourdos and Helen Zourdos
